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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,

v. * CRIMINAL NO. JKB-20-0195
KYELL A. BRYAN, *
Defendant. *
% * * * * x % * te % x i
SCHEDULING ORDER

 

Pursuant to a status teleconference held on June 9, 2021, the Court now sets the following

dates and deadlines for further proceedings in this case:

September 9, 2021

September 14, 2021, 5:00 p.m.

Deadline for submission of defense motions.

Status telephone conference, during which the Court
will either set in the date for a dispositional hearing or
deadlines for the Government’s response to the
Defendant’s motion and the Defendant’s reply. If this
matter will proceed to trial, the Court will also
schedule a motions hearing and other dates and
deadlines for a jury trial.

Counsel for the Government is directed to arrange for
and distribute conference call information to defense
counsel and Judge Bredar’s chambers.

The Government is further directed to monitor the speedy trial date and alert the Court as

to any issues. No changes in the schedule set forth above will be permitted unless authorized by

the Court for good cause shown. Any such requests, either stipulated or ex parte, must be made

by motion and filed with the Clerk.
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DATED this “| day of June, 2021.

BY THE COURT:

Dor. TK (2h

James K. Bredar
Chief Judge

 
